          Case 1:21-mc-00813-AT Document 4 Filed 11/12/21 Page 1 of 2




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                                      November 12, 2021


BY EMAIL

Honorable Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     In re Search Warrant dated November 5, 2021, 21 MAG 10685

Dear Judge Torres:

        We believe the parties should comply with the briefing already schedule set by the Court.
The urgency in seeking relief in this matter arises from the government’s choice to seize the cell
phones of a prominent journalist. The government represents it did so in compliance with the
Privacy Protection Act, 28 CFR § 50.10, and the Justice Manual guidance on same. This means
that the government obtained approval from the highest levels of the Department of Justice – that
is what obtaining a search warrant to seize a journalist’s cell phone requires. This necessarily
means that the search warrant issued as to James O’Keefe’s home in connection with the
government’s diary investigation was the subject of much advance planning by the government.

        Moreover, the timing of the undersigned’s Motion was dictated by the government’s
refusal to stop its extraction of data from Mr. O’Keefe’s phones, and its refusal to state that it
would not examine the contents of Mr. O’Keefe’s phone, until the undersigned filed a Motion to
seek judicial review. The government declined to refrain from its examination even for 24 hours
when the undersigned informed the government that this motion was forthcoming.

       The undersigned prefer to work with the schedules of other lawyers whenever possible.
However, having created the urgency that imperils a large amount of attorney-client privileged
material, First Amendment-protected material, as well as confidential donor information, the
government should be held to the timelines established by the Court.

                            [Signature Block Follows on Next Page]




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Case 1:21-mc-00813-AT Document 4 Filed 11/12/21 Page 2 of 2




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                                       Pro Hac Vice Motion to Be Filed



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